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in fe NA'|`{()NA|. SF.(`.UR!TY I.ETTF_RS Casc No. l?-cv I€)S!)-SBA

REPLY IN SUPPORT OF CRO.SS-
PE'I`ITION FOR MODIF'ICATION ()l-`
{)Nh` NA'l`l(`)NAL SE.CURITY I.ETTER
ANI) NUNDISCLUSURE
REQUIREMENTS OF 'l`WO NA'l`I(_)NAL
SECURITY LETTERS PURSUANT T()
18 U.S.C. § 35|1

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REPl.v lN SuPP. OF Cnoss-PET. FoR MoDli=lCA'l‘roN OF GNE NSL ANn
NONDtScl.osLiRE REQulREMENT:; 01-‘ Two NSLs
No. l?-cv-lQ§Q-S BA

 

l\.)

I. INTRODUCTION

 

 

 

Respondent and Cross-Petitioner "Under Seal”) has received two national

 

security letters (“NSLs"`) from the Federal Bureau oi` investigation (“FBI”} requesting certain
subscriber records pursuant to 18 U.S.C. § 2709. Tl'ie first NSL was issued by the FBl‘s|:|
Field Ol`Hce NSL”), and the second Was issued by the Field Office

 

 

 

 

 

 

 

 

 

 

 

NSL“). Both NSLs impose nondisclosure requirements prohibiting Under Seal from

 

 

disclosing the existence or contents ot`the demands indefinitely pursuant to 18 U.S.C. § 2709(<:).

 

Under Seal asks this Court to modify the NSL nondisclosure

 

 

 

requirements pursuant to 13 U.S.C. § 351 l(b)(l)(C) so that they include "conditions appropriate to
the circumstances.” including durational limits. Under Seal also asks this Coutt to enter an order

making clear that Under Seal does not have to produce electronic communications transactional

 

records (“ECI`RS”) in response to the NSL.

 

 

 

ll. ARG UMENT

 

A. The Court should Modiry nw | - |NSL Nondisctosure
Requirements to lnclude Conditions Appropriate to the Circumstances.

Under Seal asks this Coui'l to issue an Order modifying the|:|NSL
nondisclosure requirements so that they include “conditions appropriate to the circumstances.”

18 U_S.C. §35|1(_1:))(1)(€).

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18g LLE`»_.C_._§_§__J§J ,l_(b)tll)_antl 13)_..

Tlie government does not dispute that it is required to certify that an enumerated harm is
specifically related to ‘“an authorized investigation to protect against international terrorism or
clandestine intelligence activities." John Doe, lnc. v. Mnkasey, 549 F.3d 861. 874-75 (2d Cir.
2008); see also fn re Na!ion¢r[ Securify Letters. Nos. 11-ev-02173-SI, 3:1`1-cv-2667 SI. 3:13-tnc-
80089 SI & 3:13-cv-1165 SI, slip op. at 28 &. 28 n.13-14 (N.D. Cal. Mar. 29, 2016) (“fn re NSL--
N.D. Cal. 201 6”) (Soskin Decl. E)t. 4) appeal docketed, Nos. 16-16067, 16-|6081 & 16-16082 (9th

Cir. .Iul. 6. 2016). Nor does the government dispute that it is required to demonstrate good reason

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REPLV cu Sui>i>. or Cnoss-PET. ron Moorrrenrlow oF ONF. NSL ANn
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to believe that disclosure may risk one of the enumerated harms. Mukasey, 549 F.3d at 875. Nor
does the government dispute that it bears the burden of proof to persuade the Court that good
reason exists to believe that disciosure may risk one ot` the enumerated harms Id. at 875-76; la re
NSL-N.D. Crrl. 2016 , slip op. at 28.

’l`he government does dispute that this Court should “searchingly test” its certification under
the subsection 3511(b)(3) standard Reply & Opp. at 2-3. But, as the government concedes, the
USA FREEDOM Act ("USAFA”) eliminated a requirement in the prior version of section 3511
requiring the courts to treat the FBl’s certifications as ‘“conc|usive” to ensure independenrjudicial
review. C`ompare 18 U.S.C. § 3511(b`)(2) (2006) with 18 U.S.C. § 3511(b)(2)(2015).

Ofticials seeking to restrain speech must provide adequate facts to allow a court to
L‘searchingly” perform constitutional review. See Lee Art Theatre, !nc. v. Virginia, 392 U.S. 636,
637 (] 968} (per curiam). As such, it is wholly appropriate for this Court to “scarchingly” review
the government’s certification to determine whether the government has met its burden under
section 351 1{b)(2) with respect to all information it seeks to keep secret li` it fails to do so, this
Court should modify or terminate the nondisclosure requirements, as other courts have done. E.g.,
in re N.S'Ls_N.D. Col. 2016, slip op. at 32 (government failed to show a "reasonable likelihood”
that disclosure of information subject to a nondisclosure requirement would result iu an
enumerated harrn`); Doe v. Holder, ')‘03 P. Supp. 2d 313, 316 (S.D.N.Y. 2010) (terminating
nondisclosure requirement with respect to portions ofan NSL attachment}, Merri!l v. Lynch, 151 F.
Supp. 3d 342, 351-352 (S.D.N.Y. 2015) (terminating nondisclosure requirement with respect to

entire NSL attachment}.

 

 

 

We- note again that after serving th NSL on Under Seal, the FBI informed Under

 

Seal‘s general counsel that the NSL would be amended because ir contained an error, and then
subsequently withdrew that NSL. Under Seal General Counsel Decl. 1111 12 & 15. Under Seal does
not know the nature or magnitude of that error, and it does not appear that the government has
submitted additional evidence on reply to illuminate the situation for the Court. Rep|y & Opp. at 7

n.3. Under Seal asks the Court to review the governments certification with this factual

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background in mind.

l-’urthermore, the FBl's decision to retreat from its demand for EL"I`RS further suggests that

 

complete and indefinite nondisclosure is unwarranted for the NSL_ Under Sea| would

 

 

 

like the freedom to speak about the categories of information the FBI sought through this NSL,
which could help inform the ongoing public discussion about the proper scope of subsection
stot){rn.

The purpose of the nondisclosure requirements in section 2709 is to girard against specific
enumerated harms Overbroad uses of legal authority and shielding investigative missteps are not
among those enumerated harms .S`ee it"ew York `I`£rne.r Co. v. United Srrrtes, 403 U.`S. '.i' l3, ?23.24
tlg?l) (Douglas, J., concurring) (tlre dominant purpose of the First Arnendment was to prohibit
Suppnession of information that was “em|)arrassing to the powers~that-be"). ’Fhis t'.`,'ourt should
modify or terminate the nondisclosure requirements so that they reach the information for which

the government has met its burden, but no ntore.

2. anomalous users n;l:l use savannah
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The governments “nakcd prohibition against disclosures" regulates protected speech §
Brrrrm'ckr' i-. l"o;)per, 532 U.S. 5l4, 526-'.?.? (200]`_3. Those prohibitions specifically target speech :
about government conduct1 which "i[ics} at the core"’ of the liirst Amendment. Butterworn'z v.
Srrrr'rh, 494 IJ.S. 624, 632 (1990). "Wliatever differences may exist about interpretations of the Firsi
Arnendment, there is practically universal agreement that s major purpose ol"that Anrerrdment was
to protect the free discussion of governmental al"fairs."` Mr'!l.s v. Altzbnmo, 384 U.S. 214. 218 {1966).

The government continues to urge this Court to enforce the indefinite nondisclosure
requirements imposed upon linder Seal, arguing that such relief would pose no First Amendment
problems and ignoring the pending Ninth Circuit litigation Reply & Opp. at 4-||. 'l`he Court
should not grant the final relief the government seeks before the Ninth Circuit issues its ruling, but
instead should fashion a remedy to protect the interesm of both parties pending the resolution of

that csse, and in anyl event no longer than 180 days

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a) '!'here is Nr) Nntiona£ Sec'nrit_v E.rceptzon to the Firsr Am£ndmrnt.

T'he government emphasizes at length how important national sec:urit}t is. Reply & Opp. at
6-}{3. `iiiat is not in dispute But national security is not a “talismrmic incantation“ thatjnstiiics the
exercise of executive power beyond the bounds of the Iaw. See Hmwu'.¢' v. Trump, -~- F.3d ---, 2017
WL 2529640, at *16 (9th Cir, Mny 15, 2017)` {citing Um'!ed Srares v. Rnbel, 339 U.S. 253, 263-64
(1967`;_). am granted (U.S. June 26._ 201?) t'Nn. 16~1540),

Til€- judiciary retains independence even when reviewing national security matters. “Our
precedents, old and new_, make clear that concerns 01` national security . . . do not warrant
abdication of the judicial role. We do not defer to the Govemment’s reading oi' the First
Amendment._ even when such interests arc ar stake." Holdcr v. Human."tarr`rm an Pr'c)jecr,
561 U.S. i, 34 (2010}. And there is nn exception 10 the l~`irst Arnendment for matters involving
national security See N¢tw York 'I'r`mes v. Unired S!mes. 403 U.S. at 714 fpcr curiam). The tests that
apply to matters involving national security arc the same tests that apply to other speech
rest.rictions. A.nd every court to address the question to date has applied the strict scrutiny standard
of review tn subsection 2'?09(<:} nondisclosure requirements, as they are a form of prior restraint
and cnntcnt~based restriction on speech. Mnkare_v. 549 F.3d at 8'?8; fn re Nan‘c)nm' Securr'r_v Lerrer.
930 F. Supp. 2d 1064, 10?8 (N .D. Cnl. 2013), vacated ajar passage rif USAFA by fn re Nan'ona!
Securiry £nrterr, Nos. 13-15957 & 13-16':`31 (91!1 Cir. Aug. 24, 2015)(1£€1'” No. 103); fn re NSL-
N.D. C.`nt'. 20!6, slip op. at 19-20; Dne v. Gt)nz_a£es_. 500 F. Supp. 2d 3?9, 397~98 (S.I_`).N.Y. 2007),
njj'r`rmed in parr and rever.red in part an other grounds by -Mukasey', Dne v. Gorrzale.r, 336 F. Supp.
2d tif)`, ',»"4~75 (D. Conn. 2005); Due v. A.rhcmfi. 334 F. Supp. 2d 4".11, 511-12 (S.D.N.Y. 2004),
vacated njh'r passage r)f tire USA Pczrrio! Impmvemenr raid Reanthorizarian Act by Dne v.
t]'r)nzater, 449 F.'.id -_1-15 r`?d Cir. 20116); sen also L_t‘nr:h v. Under Scal, 165 F. Supp. 3d 352. 355 (D.
Md. 2015_) (nppi}'ing strict scrutiny].

'l'he strict scrutiny test does not end with the recognition of a compelling interest A
conwnt~based restriction nn speech can only be sustained ii` it is nnrron'¢'y tailored to promote a

compe|iing government interest and is the tenn restrictive alternative to achieve that interest freed

._ v. Towrr n!`Git`berr, ~~ U.S. ~-, 135 S. Ct. 2218, 2226 (`21`115); linked Smtei' n !’!cryboy Emm’!

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Gratrp, 529 U.S. 303,‘ 813 (2000).

b) ' ` closure Requr'remems Accompanyt‘ng the
NSLS Are Not Narrowly Tait"or‘ed to
Ar:hieve the Governrnent ’s !nteresl.

 

The government’s indefinite nondisclosure requirements are not narrowly tailored to protect
the government’s interest in maintaining the secrecy of ongoing investigations At some point.
investigations end. As the Supreine Court explained in the context of limiting nondisclosure orders
on grand jury participants, “|w]hen an investigation euds, there is no longer a need to keep
information from the targeted individual in order to prevent his escape-that individual presumably
will have been exonerated1 on the one hand, or arrested or otherwise informed of the charges
against hirn, on the other." Butterwor!h. 494 U.S. at 632. The government has failed to explain why
any nondisclosure requirement after that point would be necessary

Rather than ordering the government to justify the continuance of its nondisclosure
requirements after the Ninth Circuit determines the constitutionality of the NSL statutes or1 in any
event, after 180 days, the government proposes that Under Seal should “invoke its statutory right to
request judicial review . . . after the Ninth Circuit decision is issued.” Reply & Opp. at lU. The
Court should reject the government’s attempt to shift the onus to Under Seal to seek judicial
review. The plain language ol" section 3511 and the First Arnendment place that burden squarely on
the government to narrowly tailor the speech restriction to First Amendment standards

'I`he USAFA amended section 3511(b) to put the burden on the goverrmient to initiate
judicial review and justify its imposition of NSL nondisclosure requirements Pub. L. No. 114-23,
§ 502(g)¢1 129 Stat. 268, 288~89 (_2015). As Congrcss made clear when it passed the USAFA, this
was one oi` the procedural mechanisms suggested by Mukosey to ensure a "constitutionally sound
process.” H.R. Rep. No. 114~109, at 24 (20]5). The Mtrlcose_v court found section 351 l
unconstitutional when it did nor place the burden on the government "`in the absence of
Government-initiated judicial review, subsection 3511(b) is not narrowly tailored to conform to
First Amendment procedural standards.” 549 F.3d at 881 (discussing procedural protections

required by Freedmon v. .¢'c!nr‘ylond1 380 U.S. 51 (1965)).

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A service provider should not have to bear the hardship of coming back to the court again
and again to ask whether a nondisclosure restriction continues to be constitutionally appropriate
"|P|utting the onus on the speaker to lift a no-longer-justified content-based restriction is hardly
narrow tailoring. Adding the fact that the speaker cannot know when the restriction’s ‘rar'sr)n d’etre
fades’ effectively equates to no tailoring at all.” lrz re Search Warrant for [Rencred].com, No. 16"
2316M (FFM), slip op. at 18 (C.D. Cal. March 31, 2017). The Court should place the burden to

maintain any content-based restriction over time where it belongs: on the government

c) An indefinite Nondisclosw'e Restricu'on ls Nor the Lecrs! Rc.rrricrr've
Alterrrorr've to Achr'eve the Governmenr ’s Interesr.

The indefinite nondisclosure restrictions imposed by the government are not the least
restrictive alternative to promote its interest Nor does the government argue that these restrictions
arc the only plausible option to secure the govemment's interest The government contends only
that the limited durations proposed by Under Seal are, in the government"s view, “arbitrary." Reply
& Opp. at 10.

The government’s indefinite nondisclosure obligations are not “‘the least restrictive means
among available, effective altematives.” Asficro)fit v. ACLU, 542 U.S. 6561 666 (2004). Under Seal
has proposed an approach that would maintain the secrecy of the government`s investigative
interests pending the outcome of binding authority from the Ninth Circuit, and then would ensure
that this Court “expeditiously" reviews the nondisclosure requirements after that precedent is
rendered 18 U.S.C. § 3511(b){1)(C). Under Seal asks that, in any event, this Court revisit those
obligations in 180 days, a time period that other courts have deemed appropriate for periodic
judicial review of nondisclosure requirements la re Senrch Warmnrfor [Redocred].com, slip op.
ar 18-l9; in re Senlr'ng & Non-Disclo.rure of PenfTrap/Z?O.S’(d) Orders, 562 F. Supp. 2d 876. 895
(S_D_ 'Tex. 20031.

Whethcr or not the government considers these options “arbitrary” is irrelevant ‘*When a
plausible1 less restrictive alternative is offered to a content~based speech restriction. it is the
Governmcnt’s obligation to prove that the alternative will be inefj`%crive to achieve its goals."

Plnyboy, 529 U.S. at 816 (emphasis added). 'l`he government has not met that burden. nor can it.

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d) The First Amendment Requires Actual, !ndependenr Judi'cr`a/ Revlew
of tire Nondi.t'cl'osure Rean'rerneut.s' to Protecr Under Seat"s Speech
flights

'l`he government suggests that any constitutional problems posed by indefinite NSL
nondisclosure requirements are sufficiently addressed by the internal procedures the FBI

implemented under the USAFA to review such obligations Reply & ()pp. at 5. According to those

 

 

 

procedures, the FBI will review the NSL nondisclosure requirements

 

twice at most: once three years after the initiation of the full investigations in which they were
issued, and then at the close of those investigationsl FBI, Termiuorr`orr Pmcedures for Narional
Sccur'hy Lei!er Nondisclosure Reqzrr'remenl (Nov. 24, 2015) (Opp. & Cross-Pet. Mem. P&A
Hofmann I]ecl. Ex. E_). The existence of these procedures does not resolve the First Arnendment
problems associated with indefinite nondisclosure requirements

As an initial matter, internal agency review is no substitute for independent judicial review.
.lust asjudges are not national security eaperts, FBl officials are not First Amendment experts. See
Brown v. Glincs, 444 U.S. 343, 370 (1980) (Brennan, J., dissenting). “’I`he fiat of a governmental
official, though senior in rank and doubtless honorable in the execution of official duties. cannot
dispiace thejudicial obligation to enforce constitutional requirements." Mukasey, 549 F.3d at 883.

Furthermore, FBI’s review procedures “`leave several large loopholes.” ln re NSLS= No. 16-
518 (JEB), slip op. at rl-S (D.D.C-. .luly 25, 2016) (Supp. Hofmann Decl. Ex. l). A nondisclosure
requirement that the FBI decides is justified at the conclusion of an investigation may remain in
place forever. ld., slip op. at 4. Extended investigations may have long periods of time between the
third anniversary and the close date, leaving many years between reviews ld., slip op. at 4-5. And
investigations that are never officially closed may permanently leave nondisclosure obligations in
place. ld., slip op. at 5. Bipartisan members of Congress who drafted and co-sponsored the USAFA
have told the Ninth Circuit that they do not believe the FBl`s procedures satisfy the requirements of
the USAFA or the First Amendrnent. Brlef of Amici Five Members of Congress in Support of
Petitioner-Appellants, fn re NSLs-'~err Cir.. Nos. 16-l6067, 16-16081 & 16~l6032 l9th Cir. filed

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Contrary to the government’s suggestion, Reply & {}pp. at 4-5, judge ills-ton did not find
the FB|’:~: review procedures constitutional on their faee. but only as applied to the NSL.s issued to
the petitioners in the case before her. In re NSL»-N.D. Cal. 2016, slip op. at 18 n.9. 'l`he legal
sufficiency of those procedures remains at issue before the Ninth Circuit. Unsealed Btief of
Petitioncrs~Appellants at 39-41, fn re N.S`I_r-th Cz'r‘.; Orai Argument Befot'c the Nintlt Circuit at
23:04~23:39. https:!fwww.ca<)_uscourts.govhncdiafvietv_video.php?pk%vid==(ltl€lt)£ll 1251. And the
release ol` a miniscule number of` redacted NSLs does not prove the efficacy of these procedures
L')_t`the bl,l£t(l NSLs issued between 2613 and ?,tllé, fewer than warranty have been published even in
redacted l`orrn,T1 lt is unlikely that the FBI continues to have a compelling interest in the secrecy of
the recipients and contents of the til,l(l(`H~ other NSLS issued during that time period-let alone
older NSLS.

'l`he government itself has proposed in litigation that durational limits and substantive
reductions may be appropriate safeguards to ensure that NSL nondisclosure requirements meet
constitutional requirements fn re NSL-N.D. Cal. 2016. slip op. at 30. And Congress has explicitly
empowered the Courts to craft nondisclosure orders with “condin`ons appropriate to the
circumstances." which might include durational and substantive limits 18 U.S.C. § 3511(¢);
Mn.t:asi:y, 549 F.$d at 833 (it is within the Court‘s power to conform nondisclosure obligations “to
First Amendraent requirements by limiting thef duration of the nondisclosure requirement absent a
ruling favor-ante to the government upon judicial review"). This Court should adopt such durationai

limitations to protect the interests of both parties

' Avsilable at https://lofgrenhouse.gov!upltradedlilesinsl`lctfers__amicus.pdf`. in the interest of full
disclosurel undersigned counsel represents those members of Congress in la re NSLr--Q!fr Cir.

1 C`ompore Off`lce of the Director of National Intetligeuce._ Srarisrica! Transpnrerrqv Repnrr
Regtzrdr'ng tire ofNatt.'onaf Securtry rturhortrtes: Annuai Stati.rn'c_r for Catendnr fear 2016 at 23
r'Apri| 2017}, https:."i'www.dni,govr'f`rlesficottlichtransparecy__report_cy£t]lo_$__£__l'?.pdf with ()pp.
at Cross-Pet. Mem. P&A at t'r’ n.7.
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REI-l_.‘r m Surr-. or CRoss-I’Er. ron"i~»‘lootr-rcarlon or ONE NS L ANt)
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e) The Governmem’s E)ji)rl to Anulogize NSL Nondr`sclo.sure
Reqnirements to Other Comex!s i.s' Unavrn`fr'ng.

The government cites a string of cases about grand jury proceedings to argue that indefinite
nondisclosure requirements are appropriate liere. Reply & Opp. at 8. The govemment’s effort to
analogize NSL nondisclosure requirements to grand jury secrecy has been rejected again and again.
Mukasey, 549 F.'Jd at 876-77; fn re NSL-N.D. Cal. 2013, 930 F. Supp. 2d at EOT 1-72; In re NSL-
N.D. Cal. 2016, slip op. at 20-22; Gonzal‘es, 500 F. Supp. 2d at 402-403; see also la re Search
Warram for [Redacted}.cnm, slip op. at 14 (rejecting same argument in the context of the
government’s defense of an order forbidding a service provider to provide notice of a warrant).

Even grand juries must operate within First Amendrnent limits. Butterwort!i, 494 U.S. at
630. And while Federal Rule of Criminal Procedure 6 imposes a secrecy requirement to protect
grand jury proceedings, it does not extend to witnesses. fn re Gmnd J'ury, 490 F.3d 978, 985-86
(D.C. Cir, 2007). Where states have passed laws to impose certain secrecy requirements on grand
jury witnesses, those obligations have been upheld where they were limited in duration,
Butrerworth, 494 U.S. at 632, or the law provided a mechanism for a judicial review to determine
that secrecy was no longer required, I-Io_)j‘inann-Pugh v. Keenan, 338 F.3d 1136, 1140 (lOth Cir.
2003).

The government’s analogy to nondisclosure requirements in other contexts likewise fails.
Contrary to the governments suggestion, in First Amendmem Coal. v. .Indicinl Inqui)y & Review
Bd., the court concluded that a review board could not indefinitely prohibit witnesses from
speaking about their own testimony in judicial misconduct proceedings, finding “no state interest
strong enough to justify such a sweeping measure.” 784 F.'Zd 467, 478-49 (3rd Cir. l986). And
Yi'mes-Mirror Co. v. Um'red Siales did not involve a nondisclosure requirement at all, but rather a
right-of-access claim to sealed warrant materials during the pre-investigation phase of a criminal
investigation 873 F.2d 1210, 1218 (9th Cir. 1989). Under Seal does not seek access to any
got/eminent materials_it simply wants the freedom to speak about its involuntary experience as an

NSL recipient and subject of controversial nondisclosure obligations

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RcPLv m Sut>r. or CRoss-Pi-:r. ron Mooii=lcn'rlow ol= ONL-' NSL AND
NONDISCLOSURE REQulREMENTS ol= Two NSLs
No. l7-cv-l959-SBA

 

B. The Court Should Euter an Order Explicitly Stating That Under Seal ls Not

chuired to P tronic Communications Transactional Records in
Response to th NSL.

On reply, the government has abandoned its effort to seek electronic communications
transactional records that 18 U.S.C. § 2709 does not authorize the FBl to obtain. Reply & Opp. at
12-|3. lt still contends, however, that as a legal matter, section 2709 authorizes the FBl to obtain
information from Under Sea| that is `°para|lel to . . 4toll billing records.“ citing as an example the
"To," “From," “Time."` and "Date" fields on emails. Reply & Opp. at 12, citing OLC ()pinion at
l47 n.3 {Opp. & Cross-Pet. Mem. P&A Hofmann Decl. Ex. A).

 

 

 

 

 

 

 

lt remains a mystery what

 

 

information the government believes Under Seal has about the target subscriber that would be

"‘parallel" to telephone toll billing records

 

 

 

While the government no longer asks this Court to enforce the NSL’s demand

 

for ECTRs, the FBl has neither withdrawn the NSL nor issued a modified version that does not

seek such information Under Seal asks this Court to enter an order explicitly stating that Under

 

Seal is not required to disclose ECTRs in response to the NSL. See Revised Proposed

 

 

 

Order.
lll. CONCI.US|ON
For the foregoing reasons, the government’s petition should be denied, and Under Sea|`s

cross-petition should be granted .

DATED: .lune 28,2017 Respectfully submitted,

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l, Marcia Hofmann, certify that on lane 28. 2017. pursuant to prior agreement of the
panies, l will cause to be served electronically on the governments counsel the foregoing UNDER
SF.AL RESPONDENT/CROSS-PETI'¢`IONER’S REPLY lN SUPPORT OF CROSS-PETIT|ON
FUR MOD|FICATION OF ONE NATIONAI. SECUR|TY LE"ITER AND NOND|SCLOSURE
REQU[REMENTS OF TWO NA'I`lONAL SEC.‘UR|TY LETTERS PURSUANT TC) 18 LI.S.C.
§35|i. A password-protccted copy of this document will be served via email upon the
government‘s counsel Kevin Sne|l at Kevin.Snell@usdoj.go\/, Jennie L. Kneedler at
lonnie.L.Kneedler@usdoj.gov, and Eric Soskin at Eric.Soslcin@usdoj.gov. l declare under penalty

of perjury that the foregoing is true and correct Execnted on June 28. 2017.

 
  

lt

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